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                    IN THE UNITED STATES OF DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

JEANNETTE STALEY                            )
                                            )
                                            )       Civil Action No. 1:17-CV-00669
                                            )
              Plaintiff,                    )       Honorable John J. Tharp, Jr.
                                            )
v.                                          )
                                            )       JURY TRIAL DEMANDED
SUNRISE SENIOR LIVING                       )
MANAGEMENT, INC.,                           )
MS BARRINGTON, SH, LLC;                     )
SUNRISE SENIOR LIVING SERVICES,             )
                                            )
              Defendants.                   )

                                STIPULATION TO DISMISS

       IT IS HEREBY STIPULATED AND AGREED, by and between the Plaintiff,

JEANNETTE STALEY, and Defendants, SUNRISE SENIOR LIVING MANAGEMENT, INC.

and MS BARRINGTON SH, LLC, that said action be dismissed with prejudice and in bar of

further action, without costs to either party, all costs having been paid and all matters in

controversy for which said action was brought having been fully settled, compromised and

adjourned.

       It is so stipulated this 13th day of March 2017.

By:    /s/ John E. Marszalek                        By:    /s/ Robert E. Sidkey
       John E. Marszalek                                   Robert E. Sidkey
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